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Andrew D. Goldstein
T: +1 202 842 7805
agoldstein@cooley.com




January 21, 2025

Honorable Lewis Kaplan
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re:     United States v. Nishad Singh, 22-cr-673 (LAK)

Dear Judge Kaplan:

         On behalf of Nishad Singh, we respectfully request that the Court issue an order directing the
Pretrial Services Office to return Mr. Singh’s passport. The Government and Mr. Singh’s Probation Officer
both consent to this request.

        As background, Mr. Singh surrendered his passport to Pretrial Services on February 28, 2023,
following his plea of guilty before Your Honor pursuant to a cooperation agreement with the Government.
See ECF Nos. 90, 98. On October 30, 2024, the Court sentenced Mr. Singh to time served and imposed a
three-year term of supervised release. ECF No. 531. As part of his conditions of supervised release, Mr.
Singh must obtain prior approval from his Probation Officer to leave the Northern District of California,
where Mr. Singh currently resides. See id. at 5.

           Mr. Singh requests the return of his passport so that he can travel internationally for work and
personal reasons. First, in Mr. Singh’s current employment role, many of his team members reside in
Bangalore, India and he believes it would be beneficial to travel to India at least twice a year to collaborate
with his team. Mr. Singh also would like to travel to India for familial and personal reasons. Second, Mr.
Singh would like to attend the marriage of a close friend in Mexico next month. Third, Mr. Singh would like
to attend a religious pilgrimage in the United Kingdom this summer. Should Mr. Singh’s passport be
returned, he will seek prior approval from his Probation Officer to travel internationally and will comply with
all travel-related requirements imposed by Probation for the duration of his term of supervised release.

         Accordingly, we respectfully request that the Court order the return of Mr. Singh’s passport. As
noted, we informed the Government of this request and they consent. Mr. Singh also spoke with his
Probation Officer about this request and his expected travel, and she also provided her consent.



Sincerely,


/s/Andrew D. Goldstein
Andrew D. Goldstein


ADG

                      Cooley LLP 1299 Pennsylvania Avenue NW Suite 700 Washington, DC 20004-2400
                                     t: +1 202 842 7800 f: +1 202 842 7899 cooley.com
